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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-CR-507 (PLF)
                                              :
STEPHANIE MARYLOU BAEZ,                       :
                                              :
                       Defendant.             :

                        JOINT MOTION TO CONTINUE AND
                 TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America hereby requests that this Court continue the above-captioned

proceeding for forty-five days, schedule a Status Hearing approximately forty-five days from

Monday, December 13, 2021, to on or about Thursday, January 27, 2021, and exclude the time

until that Status Hearing from the time within which the trial must commence under the Speedy

Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking such

actions outweigh the best interest of the public and the defendant in a speedy trial pursuant to the

factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv). In support of its motion, the

government states as follows:

       In this case, the government has provided and continues to provide defense counsel with

discovery. That discovery has not yet been processed or Bates-stamped, but the government has

provided it to ensure that defense counsel has access to the materials the government views, at this

preliminary stage, as among the most relevant to the defendant’s case. However, materials remain

outstanding.

                                              ARGUMENT

       Pursuant to the Speedy Trial Act, an indictment charging an individual with the

commission of an offense generally must be filed within thirty days from the date on which such
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individual was arrested or served with a summons in connection with such charges. 18 U.S.C. §

3161(a). Further, as a general matter, in any case in which a plea of not guilty is entered, a

defendant charged in an information or indictment with the commission of an offense must

commence within seventy days from the filing date (and making public) of the information or

indictment, or from the date the defendant has appeared before a judicial officer of the court in

which such charge is pending, whichever date last occurs. 18 U.S.C. § 3161(c)(1).

       Section 3161(h) of the Speedy Trial Act sets forth certain periods of delay which the Court

must exclude from the computation of time within which an information or indictment must be

filed or within which trial must commence. As is relevant to this motion for a continuance, pursuant

to subsection (h)(7)(A), the Court must exclude:

       Any period of delay resulting from a continuance granted by any judge on his own
       motion or at the request of the defendant or his counsel or at the request of the
       attorney for the Government, if the judge granted such continuance on the basis of
       his findings that the ends of justice served by taking such action outweigh the best
       interest of the public and the defendant in a speedy trial.

18 U.S.C. § 3161(h)(7)(A). This provision further requires the Court to set forth its reasons for

finding that that any ends-of-justice continuance is warranted. Id. Subsection (h)(7)(B) sets forth

a non-exhaustive list factors that the Court must consider in determining whether to grant an ends-

of-justice continuance, including:

       (i)      Whether the failure to grant such a continuance in the proceeding would be
                likely to make a continuation of such proceeding impossible, or result in a
                miscarriage of justice.

       (ii)     Whether the case is so unusual or so complex, due to the number of
                defendants, the nature of the prosecution, or the existence of novel questions
                of fact or law, that it is unreasonable to expect adequate preparation for
                pretrial proceedings or for the trial itself within the time limits established
                by this section.
                ...

       (iv)     Whether the failure to grant such a continuance in a case which, taken as a



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                whole, is not so unusual or so complex as to fall within clause (ii), would
                deny the defendant reasonable time to obtain counsel, would unreasonably
                deny the defendant or the Government continuity of counsel, or would deny
                counsel for the defendant or the attorney for the Government the reasonable
                time necessary for effective preparation, taking into account the exercise of
                due diligence.

18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv). Importantly, “[i]n setting forth the statutory factors that

justify a continuance under subsection (h)(7), Congress twice recognized the importance of

adequate pretrial preparation time.” Bloate v. United States, 559 U.S. 196, 197 (2010) (citing

§3161(h)(7)(B)(ii), (B)(iv)).

         An interests-of-justice finding is within the discretion of the Court. See, e.g., United States

v. Rojas-Contreras, 474 U.S. 231, 236 (1985); United States v. Hernandez, 862 F.2d 17, 24 n.3

(2d Cir. 1988). “The substantive balancing underlying the decision to grant such a continuance is

entrusted to the district court’s sound discretion.” United States v. Rice, 746 F.3d 1074 (D.C. Cir.

2014).

         In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv). As described above,

the Capitol Attack is likely the most complex investigation ever prosecuted by the Department of

Justice. Moreover, the investigation is reactive; the government is continually receiving massive

quantities of new discovery, which it must continue to sift through while it reviews, processes, and

produces its existing discovery. Nor could the government simply bide its time while investigating

these cases to have discovery processed and prepared prior to charging the individuals involved.

Especially given the notoriety of the events of January 6, 2021 and the ongoing investigation into

those events, there was and remains a strong likelihood in each case that defendants might destroy

or rid themselves of critical evidence in their possession, such as clothing or evidence on those

individuals’ cell phones, computers, or cameras. The government has seen instances of that



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conduct already, just among those defendants already charged. Other defendants might have

obstructed justice or attempted to intimidate witnesses if they were not arrested; in some cases,

defendants in the community represented a serious flight risk or danger to others. As a result, the

government’s only reasonable available course was to receive and process discovery relevant to

this investigation on an ongoing basis.

       Developing a system for storing and searching, producing and/or making available

voluminous materials accumulated across hundreds of investigations, and ensuring that such

system will be workable for both the government and defense, will continue to take time. Even

after a system generally agreeable to the government and the Federal Public Defender is designed

and implemented through outside vendors, it continues to take time to load, process, search and

review discovery materials. Further adding to production and review times, certain sensitive

materials may require redaction or restrictions on dissemination, and other materials may need to

be filtered for potentially privileged information before they can be reviewed by the prosecution.

The government has moved with utmost speed to manage the numerous overlapping processes

required to identify and produce the discovery in these complex investigations.

       Moreover, the hundreds of defendants who committed crimes on January 6, 2021, did so

at one location: the Capitol and its grounds. The same surveillance and bodycam footage is thus

likely to capture multiple different defendants. A single defendant’s cell phone or camera could

likewise contain evidence relevant to multiple defendants. And so on. The mountain of evidence

described above is overlapping across many different cases, and so the time required to process,

review, and produce that evidence will impact the time necessary to prepare for trial in any single

defendant’s case.

       The need for reasonable time to organize, produce, and review voluminous discovery is




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among multiple pretrial preparation grounds that Courts of Appeals have routinely held sufficient

to grant continuances and exclude the time under the Speedy Trial Act. See, e.g., United States v.

Bikundi, 926 F.3d 761, 777-78 (D.C. Cir. 2019) (Upholding ends-of-justice continuances totaling

eighteen months in two co-defendant health care fraud and money laundering conspiracy case, in

part because the District Court found a need to “permit defense counsel and the government time

to both produce discovery and review discovery”); United States v. Bell, 925 F.3d 362, 374 (7th

Cir. 2019) (Upholding two-month ends-of-justice continuance in firearm possession case, over

defendant’s objection, where five days before trial a superseding indictment with four new counts

was returned, “1,000 pages of new discovery materials and eight hours of recordings” were

provided, and the government stated that “it needed more than five days to prepare to try [the

defendant] on the new counts”); United States v. Vernon, 593 F. App’x 883, 886 (11th Cir. 2014)

(District court did not abuse its broad discretion in case involving conspiracy to commit wire and

mail fraud by granting two ends-of-justice continuances due to voluminous discovery); United

States v. Gordon, 710 F.3d 1124, 1157-58 (10th Cir. 2013) (Upholding ends-of-justice continuance

of ten months and twenty-four days in case involving violation of federal securities laws, where

discovery included “documents detailing the hundreds financial transactions that formed the basis

for the charges” and “hundreds and thousands of documents that needs to be catalogued and

separated, so that the parties could identify the relevant ones”) (internal quotation marks omitted);

United States v. Lewis, 611 F.3d 1172, 1177-78 (9th Cir. 2010) (Upholding ninety-day ends-of-

justice continuance in case involving international conspiracy to smuggle protected wildlife into

the United States, where defendant’s case was joined with several co-defendants, and there were

on-going investigations, voluminous discovery, a large number of counts, and potential witnesses

from other countries); United States v. O’Connor, 656 F.3d 630, 640 (7th Cir. 2011) (Upholding




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ends-of-justice continuances totaling five months and twenty days in wire fraud case that began

with eight charged defendants and ended with a single defendant exercising the right to trial, based

on “the complexity of the case, the magnitude of the discovery, and the attorneys’ schedules”);

United States v. Stockton, No. 3:15-CR-45, 2015 WL 2185562, at *2 (E.D. Tenn. May 7, 2015)

(considering the case “complex for purposes of the Speedy Trial Act” under Section

3161(h)(7)(B)(ii) “due to the number of defendants” in “all related cases” in a large drug

investigation, “including the voluminous discovery stemming therefrom,” notwithstanding

defendant’s objection that “he was the sole defendant in his indictment and that to delay the trial

based on other related cases would prejudice his rights under the Speedy Trial Act”).

       The facts of this case bear out the ways in which the evidence is overlapping. The

government has reviewed photographs, body worn camera footage, and bystander videos that

capture numerous aspects of the crowd’s assaults on law enforcement officers on the lower west

terrace of the Capitol building, an area through which the defendant may have walked given she

approached the Capitol by walking from the Washington Monument. Individual videos are being

identified and processed in individual cases, but the government has not yet, and realistically could

not yet have, identified every potential video or photograph showing the defendant’s conduct in

that area on January 6, 2021.

       In sum, due to the number of individuals currently charged across the Capitol Attack

investigation and the nature of those charges, the on-going investigation of many other individuals,

the volume and nature of potentially discoverable materials, and the reasonable time necessary for

effective preparation by all parties taking into account the exercise of due diligence, the failure to

grant such a continuance in this proceeding would be likely to make a continuation of this

proceeding impossible, or result in a miscarriage of justice. Accordingly, the ends of justice served




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by granting a request for a continuance outweigh the best interest of the public and the defendant

in a speedy trial.

        Moreover, the ongoing COVID-19 public health crisis further demonstrates that a

continuance here serves the ends of justice. On March 5, 2021, Chief Judge Howell issued Standing

Order No. 21-10, which allows for a “limited” resumption of criminal jury trials under “stringent

restrictions” required to protect the public health. See In Re: Limited Resumption of Criminal Jury

Trials in Light of Current Circumstances Relating to the COVID-19 Pandemic, Standing Order

No. 21-10 (BAH).

        Standing Order 21-10 addresses the need to exclude time under the Speedy Trial Act

considering these COVID-19-related restrictions. The Chief Judge notes that the time from March

17, 2020 through March 15, 2021 had already been excluded under the Speedy Trial Act in all

criminal cases. Id. at 5. The Court then notes that, while it anticipates a limited resumption of

criminal trials, the Court’s plans permit “no more than one jury selection” to take place on “a given

day, and no more than three trials . . . will take place within the courthouse at one time” before

August 31, 2021. Id. at 4-5. The Court therefore plans to prioritize trials based on factors such as

length of detention, whether witnesses would be required to travel from out of town, and previously

established trial dates. Id. at 4. Finally, noting the then-current statistics regarding COVID-19 case

counts and other findings relating to the health and safety measures in this District that impact the

ability of the Court to re-open safely for criminal trials, the Chief Judge finds that “for those cases

that cannot be tried consistent with” the “health and safety protocols and limitations” set out by

the Court’s continuity of operations and master trial plans described above, the “additional time

period from March 15, 2021 through August 31, 2021” will be “excluded under the Speedy Trial

Act as the ends of justice served by the continuances to protect public health and safety and the




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fair trial rights of a defendant outweigh the best interest of the public and any defendant’s right to

a speedy trial, pursuant to 18 U.S.C. § 3151(h)(7)(A).” Id.

       Under Standing Order No. 21-47 (BAH), issued on August 25, 2021, for reasons detailed

in the Order and in prior Standing Orders, “the additional time period from August 31, 2021

through October 31, 2021 is excluded under the Speedy Trial Act as the ends of justice served by

the continuances to protect public health and safety and the fair trial rights of a defendant outweigh

the best interest of the public and any defendant’s right to a speedy trial, pursuant to 18 U.S.C.

§ 3161(h)(7)(A).” Id.

       Under Standing Order No. 21-62 (BAH), issued on November 22, 2021, for reasons

detailed in that Order and in prior Standing Orders, “the additional time period from August 31,

2021 through December 15, 2021 is excluded under the Speedy Trial Act as the ends of justice

served by the continuances to protect public health and safety and the fair trial rights of a defendant

outweigh the best interest of the public and any defendant’s right to a speedy trial, pursuant to 18

U.S.C. § 3161(h)(7)(A).” Id.

       Consistent with that Standing Order, this Court should also exclude time for the period

until the next status conference. The defendant is not detained and no trial dates have been set.

Under the prioritization factors the Standing Order articulates, she likely cannot receive a trial date

in the near term, given the capacity limitations described in the Standing Order, which the Chief

Judge has found are required to protect public health and safety. The Court should therefore

exclude the period between Monday, December 13, 2021, and the next status conference, which

the government and defense counsel jointly request occur forty-five days after tomorrow, based in

part on Standing Order 21-62’s findings that (1) failing to follow the health and safety protocols

set forth in the order, which limit the number of jury trials, would endanger public health and




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safety, and (2) that the ends of justice served by a continuance to protect public health and safety

and the fair trial rights of a defendant outweigh the best interest of the public and any defendant’s

right to a speedy trial, pursuant to 18 U.S.C. § 3161(h)(7)(A).

       Government counsel notified the defense of the filing of this motion on Friday, December

10, 2021. Defense counsel indicated that he did not oppose the motion to reset the Status Hearing

or to toll the time under the Speedy Trial Act.

       WHEREFORE, the government hereby requests that this Court continue the above-

captioned proceeding for forty-five days, schedule a Status Hearing approximately forty-five days

from December 13, 2021, specifically on or about January 27, 2021, and exclude the time until the

subsequent Status Hearing from the time within which the trial must commence under the Speedy

Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking such

actions outweigh the best interest of the public and the defendant in a speedy trial pursuant to the

factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).

                                               Respectfully submitted,

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